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UNITED STATES OF AMER]CA )

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v. )
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DONALD ST. PIERRE )

MOTION 'I`O SEAL
The United States respectfully moves that the Complaint, Affidavit in Support of
Complaint, Synopsis, Arrest Warrant, this Motion, as Well as all associated docket entries, be
sealed until the Defendant’s arrest.

Date: July 31, 2018

Halsey B. Frank
United States Attomey

JAMIE § GUERRE'I`TE

Assistant U.S. Attorney

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